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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1376V
                                        UNPUBLISHED


    MAURICE LEWIS and SUSAN LEWIS                            Chief Special Master Corcoran
    on behalf of N.L., a minor child,
                                                             Filed: April 12, 2021
                         Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Ruling on Entitlement; Concession;
    SECRETARY OF HEALTH AND                                  Table Injury; Human Papillomavirus
    HUMAN SERVICES,                                          (HPV) Vaccine; Vasovagal Syncope

                        Respondent.


Miriam A. Johnson, Berman & Simmons, P.A., Lewiston, ME, for petitioners.

Laurie Wiesner, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

       On October 13, 2020, Petitioners filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioners allege that N.L., their minor daughter, suffered a syncopal
episode as a result of a human papillomavirus (“HPV”) vaccine administered on
September 14, 2018. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On April 9, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioners are entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent concludes that Petitioners have satisfied the criteria set forth in

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioners have 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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the Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation for a
vasovagal syncope injury. Id. at 7-8. Respondent further agrees that N.L. experienced
more than six months of residual effects. Id. at 8.

       In view of Respondent’s position and the evidence of record, I find that
Petitioners are entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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